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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTICT OF MARYLAND

UNITED STATES OF AMERICA                     :
                                             :
v.                                           :      Criminal No.:          DLB-21-399
                                             :
ROY C. McGRATH,                              :
                                             :
              Defendant                      :
                                             :

                            NOTICE OF LIMITED APPEARANCE

Dear Clerk:

       For purposes of the initial appearance in the above-captioned matter, please enter the

limited appearance of Sydney M. Patterson, Esquire and MarcusBonsib, LLC, as counsel for the

Defendant.

                                             Respectfully submitted,

                                             MARCUSBONSIB, LLC

                                             /s/_Sydney M. Patterson
                                             Sydney M. Patterson, Esquire
                                             Bar No.: 19036
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                                             Greenbelt, Maryland 20770
                                             (301) 441-3000
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                                             spatterson@marcusbonsib.com

                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY, that on this 22nd day of October, 2021, a copy of the foregoing
was electronically filed and served on Joyce K. McDonald, Assistant United States Attorney,
Office of the United States Attorney, 36 S Charles St Fourth Fl., Baltimore, MD 21201.

                                             /s/ Sydney M. Patterson
                                             Sydney M. Patterson
